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AO 440 (Rev. 06/12} Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

District of Delaware

BABY JOGGER, LLC,

Plaintiffs)

¥. Civil Action No. 24-725-UNA

BABY GENERATION, INC. D/B/A MOCKINGBIRD,

Defendant(s)

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SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address}
Baby Generation, Inc.
c/o Corporation Service Company (via Registered Agent)
251 Little Falls Drive
Wilmington, DE 49808

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(2} or (3} — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule [2 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Andrew C, Mayo

Ashby & Geddes

500 Delaware Avenue, 8th Floor
P.O. Box 1150

Wilmington, DE 19899

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: 06/20/2024 /s/ Randall Lohan

Signature of Clerk or Deputy Clerk

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Civil Action No.24-725-UNA

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

This summons for (name of individual and title, ifany) Baby Generation, Inc.

was received by me on (date) 06/20/2024

[1 I personally served the summons on the individual at (piace)

on (date) ; Or

(1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

of I served the summons on (name of individual) — Lynanne Gares- Authorized to Accept , who is

designated by law to accept service of process on behalf of (name of organization) Corporation Service Company

251 Little Falls Drive, Wilmington, DE 19808 on (date) 06/20/2024 > or

O I returned the summons unexecuted because ; or

O Other (specify):

My fees are $ for travel and $ i otal of $ 0.00

I declare under penalty of perjury that this information is true.

Date: 06/20/2024

J

erver''s signature

n Garber - Process Server
Printed name and title

230 North Market Street
Wilmington, DE 19801

Server’s address

Additional information regarding attempted service, etc:
